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                           UNITED STATES DISTRICT COURT
                           SO UT H ER N D ISTRIC T O F FLO R IDA

                              C ase No.10-20763-CR -LEN A RD


 U N ITE D STA TES O F A M ER ICA

 V S.

 EDISO N G O M EZ M O L IN A
                    D efendant.
                                                                            /

                                    PL EA A G R EEM EN T

        TheUnitedStatesofAmericaandEDISON GOM EZ MOLINA (hereinafterreferredtoas
 thet'defendant'')enterintothefollowingagreement:
                The defendantagreesto plead guilty to Count 1ofthe lndictm ent,which charges

 thedefendantwith conspiracydistributemorethantive(5)kilogramsofcocaine,knowingthatit
 was be unlawfully imported into the United States,in violation Title 21,United States Code,

 Section 963.

                The defendant is aware that the sentence will be im posed by the courtaher

 considering the FederalSentencing Guidelines and Policy Statements(hereinafter''Sentencing
 Guidelinesl'). The defendantacknowledges and understands thatthe courtwillcompute an
 advisory sentence under the Sentencing Guidelines and that the applicable guidelines willbe

 detenninedby thecourtrelyingin parton theresultsofaPre-sentencelnvestigationby thecourt's

 probation office,which investigation willcom mence aftertheguilty pleahasbeen entered. The

 defendantis also aw are that,undercertain circum stances,the courtm ay departfrom the advisory

 sentencing guideline range thatit has com puted,and m ay raise or low er that advisory sentence

 undertheSentencing Guidelines. Thedefendantisfurtherawareandunderstandsthatthecourtis
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 requiredtoconsidertheadvisory guidelinerangedeterm inedundertheSentencing Guidelines,but

 isnotboundto imposethatsentence;thecourtispermitted totailortheultim atesentenceinlightof

 other statutory concerns,and such sentence m ay be eitherm ore severe or less severe than the

 Sentencing Guidelines'advisory sentence. Knowing these facts,the defendantunderstandsand

 acknowledgesthatthecourthastheauthoritytoim poseany sentencewithinandup to thestatutory

 maximum authorized by law forthe offense identified in paragraph 1 and thatthe defendantm ay

 notwithdraw thepleasolely asaresultofthesentence im posed.

        3.     The defendantalso understandsand acknowledges thatthe courtmustimpose a

 minimum mandatoryterm ofimprisonmentoften (10)yearsand mayimposeuptothestatutory
 maximum term oflife im prisonm ent. Additionally,any tenn ofim prisonm entwillbe followed

 by aterm ofsupervised releaseofatleastfive(5)yearsand up to life. In addition to aterm of
 imprisonmentand supervised release,thecourtmay impose afine ofup to $10,000,000.
        4.     The defendant further understands and acknowledges that,in addition to any

 sentenceimposedunderparagraph3 ofthisagreem ent,aspecialassessm entin theamountof$100
 willbe imposed on the defendant. The defendantagreesthatany specialassessmentim posed

 shallbepaid atthetime ofsentencing.

        5.     The Oftice of the United States Attorney for the Southern District of Florida

 (hereinaher''Office''lreservestherightto inform thecourtand theprobation officeofa1lfacts
 pertinentto the sentencing process,including al1relevantinformation concem ing the offenses

 com mitted,whether charged or not,as wellas concem ing the defendant and the defendant's

 background. Subjectonlyto theexpresstennsofanyagreed-uponsentencingrecommendations
 contained in thisagreem ent,thisOfficefurtherreservestherightto m ake any recomm endation as

 to thequality and quantity ofpunishment.

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        6.     TheUnited Statesagreesthatitwillrecomm endatsentencingthatthecourtreduce

 by two levelsthe sentencing guideline levelapplicable to the defendant's offense,pursuantto

 Section 3E1.1(a)of the Sentencing Guidelines,based upon the defendant's recognition and
 affirmative and timely acceptance of personalresponsibility.lf at the tim e of sentencing the

 defendant'soffense levelisdetermined to be 16 or greater,the govem m entwillm ake a m otion

 requesting an additionalone leveldtcrease pursuantto Section 3E1.1(b) of the Sentencing
 Guidelines,statingthatthedefendanthasassisted authoritiesintheinvestigationorprosecutionof

 his own m isconductby tim ely notifying authorities of his intention to enter a plea of guilty,

thereby perm itting the governm entto avoid preparing fortrialand perm itting thegovernm entand

the courtto allocate theirresourceseffciently. The United Statesfurtheragreesto recomm end

thatthe defendantbesentenced atthe 1ow endoftheguidelinerange,asthatrangeiscontem plated

by the Parties. The United Statesshowever,willnotbe required to m ake thism otion and this

recommendation ifthe defendant:(1)fails orrefuses to make a full,accurate and complete
disclosureto theprobation office ofthecircum stancessurrounding the relevantoffense conduct;

(2)is found to have misrepresented factsto the governmentprior to entering into thisplea
agreement;or(3)commitsany misconductafterentering into thispleaagreement,including but
notlim ited to committing astateorfederaloffense,violatingany term ofrelease,orm aking false

 statem entsorm isrepresentationsto any governmentalentity oroffcial.

        7.     ThedefendantagreesthatheshallcooperatefullywiththisOffceby:(a)providing
truthfuland complete inform ation and testimony,and producing docum ents,records and other

evidence,when called upon bythisOffice,whetherininterviews,beforea grandjury,oratany
trialorotherCourtproceeding;(b)appearingatsuchgrandjuryproceedings,hearings,trials,and
otherjudicialproceedings,and at meetings,as may be required by this Office;and (c)
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 requested by this Oftice, working in an undercover role under the supervision of, and in

 com pliancewith,1aw enforcem entofficersand agents. ln addition,the defendantagreesthathe

 willnotprotectany person orentity through falseinformation orom ission,thathewillnotfalsely

 implicateany person orentity,and thathethathewillnotcomm itany furthercrimes.

        8.     ThisOfficereserves the rightto evaluate the nature and extentofthe defendant's

 cooperation and to m ake thatcooperation,or lack thereof,known to the Courtatthe tim e of

 sentencing. lfinthesoleandunreviewablejudgmentofthisOfficethedefendant'scooperationis
 ofsuch quality and significancetothe investigation orprosecution ofothercriminalm attersasto

 warranttheCourt'sdownward departurefrom the advisory sentencingrange calculated underthe

 Sentencing Guidelinesand/orany applicablem inimum m andatory sentence,thisOfficemaym ake

a motion priorto sentencing pursuantto Section 5K 1.1ofthe Sentencing Guidelinesand/orTitle

 18,UnitedStatesCode,Section 355340,orsubsequentto sentencingpursuanttoRule35ofthe
Federal Rules of Crim inal Procedure,informing the Court that the defendant has provided

substantial assistance and recomm ending that the defendant's sentence be reduced. The

defendantunderstandsand agrees,however,thatnothing in thisagreem entrequiresthisOfficeto

t5le any such m otions,and thatthis Offce's assessm entof the quality and signifcance ofthe

defendant'scooperation shallbebinding asitrelatestotheappropriatenessofthisOffice'sfilingor

non-filing ofa motion to reduce sentence.

       9.     Thedefendantunderstandsand acknowledgesthattheCourtisunderno obligation

to granta motion forreduction ofsentence fled by the government. In addition,the defendant

furtherunderstands and acknow ledges thatthe Courtisunder no obligation ofany type to reduce

the defendant's sentence because ofthe defendant's cooperation.



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               The United States and the defendant agree that,although not binding on the

 probation office orthe court,they willjointly recommend thatthe courtmake the following
 findingsand conclusionsasto thesentenceto beim posed:

               a.      Amountofnarcotics: Thatthe quantity ofcocaineinvolved in theoffense,

 forpum oseofSection2D1.1(a)and (c)oftheSentencingGuidelines,ismorethan 150kilograms,
 Md

               b.      Role in the offense:Thatthedefendantshould receiveatwo-leveldecrease

 asaminorparticipantintheoffense,pursuantto Section 3B1.1ofthe Sentencing Guidelines,and

               The United States and the defendant agree that, although not binding on the

probationofficeortheCourt,they willjointlyrecommendthat,pursuanttoSection 5C1.2ofthe
 Sentencing Guidelines,theCourtim poseasentencewithin thesentencingguidelinerangewithout

 regard to any statutory m inim um sentence identified in paragraph 4 above,provided that:

               (a) defendant is notfound to have more than one criminal history point,as
determ ined underthe SentencingGuidelines;

               (b)notlaterthanthetimeofthesentencing hearingthedefendantprovidestothe
United States a written statem ent truthfully setting forth a11 infonnation and evidence the

defendanthasconcerningtheoffenseoroffensesthatwerepartofthesam ecourseofconductorof

a comm on scheme orplan ascharged in theindictment;and

               (c)the defendantisnotfound to haveused violenceorthreatsofviolence,orto
have possessed a firearm orother dangerous weapon in colmection with the offense;thatthe

offensedidnotresultindeath orseriousbodilyinjurytoanyperson;andthatthedefendantisnot
found to have been an organizer,leader,m anageror supervisor ofothers in the offense.

        12.         The defendant is aware thatTitle 18,United States Code,Section 3742 and

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 Title 28,United States Code,Section 1291 afford the defendantthe rightto appealthe sentence

 imposed in thiscase. Acknowledging this,in exchangefortheundertakingsm ade by theUnited

 Statesin thisplea agreem ent,the defendanthereby waivesal1rightseonferred by Sections3742

 and 1291to appealany sentence imposed,including any restitution order,orto appealthemanner

 inwhich thesentencewasimposed,unlessthesentenceexceedsthem aximum permittedby statute

 or is the resultofan upward departure and/oran upward variance from the advisory guideline

 rangethatthe Courtestablishesatsentencing. The defendantfurtherunderstandsthatnothing in

 this agreem entshallaffectthe govem ment's rightand/orduty to appealas setforth in Title 18,

 UnitedStatesCode,Section3742(b)andTitle28,UnitedStatesCode,Section 1291. However,if
 theUnited Statesappealsthedefendant'ssentence pursuantto Sections3742*)and 1291,the
 defendantshallbereleased from the abovewaiverofappellaterights. By signingthisagreem ent,

 the defendantacknowledges thatthe defendanthasdiscussed the appealwaiversetforth in this

 agreementwith thedefendant'sattorney.

        13.   The defendantisawarethatthesentence hasnotyetbeen determ ined by thecourt.

 The defendantalso is aware thatany estim ate of the probable sentencing range orsentence

 thatthe defendantmay receive,whetherthatestimate comesfrom the defendant'sattorney,the

 governm ent,orthe probation office,is a prediction,not a prom ise,and is notbinding on the

 govenunent, the probation office or the court. The defendant understands further that any

 recomm endationthatthe governm entmakestothecourtasto sentencing,whetherpursuantto this

 agreement or otherwise, is not binding on the court and the court m ay disregard the

 recom m endation in its entirety. The defendantunderstands and acknow ledges, as previously

 acknowledged in paragraph 2 above,thatthedefendantm ay notwithdraw his/herplea based upon

 the court's decision not to accept a sentencing recomm endation m ade by the defendant,the

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 government,or a recommendation madejointlybyboththedefendantandthegovernment.
            13.   This is the entire agreem ent and understanding between this Office and the

 defendant. There are no otheragreements,prom ises,representations,orunderstandings.



                                             W IFR ED O A .FERR ER
                                             UNITED STATES ATTORNEY


 Date: f                                     By:
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